
USCA1 Opinion

	










          June 19, 1995
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
              

                                 ____________________


        No. 94-1634 


                                RASHAD AKEEM RASHEED,

                                     Petitioner,

                                          v.

                               RONALD T. DUVAL, ET AL.,

                                     Respondents.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                        Cyr, Boudin and Lynch, Circuit Judges.
                                               ______________

                                 ____________________

            Rashad Akeem  Rasheed on Application  for Certificate of  Probable
            _____________________
        Cause pro se.



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                 Per Curiam.    Petitioner    Rashad   Akeem    Rasheed's
                 ___________

            application for a certificate of probable  cause to appeal is

            denied, essentially for  the reasons stated  in the  district

            court's April  14, 1994, memorandum and  order denying habeas

            corpus relief under 28 U.S.C.   2254.1  In  agreeing with the

            district court that  there is no basis  to petitioner's claim

            of constitutional error, we add the following comments.

                                          I
                                          I

                 Rasheed essentially argues that the district court erred

            in concluding that his suppression and ineffective assistance

            claims are  procedurally  barred.    As  an  initial  matter,

            petitioner contends  that lack  of  notice of  the  impending

            denial of his petition was procedurally improper and deprived

            him of  due process.   There  is  no merit  to either  claim.

            Rasheed assumes that the Commonwealth's motion to dismiss was

            treated as a motion for summary judgment because the district

            court,  in deciding the motion, relied on two of the exhibits

            attached to the habeas petition: (1) the 1993 decision of the

            Massachusetts Appeals  Court upholding Rasheed's  most recent

            attempt in  state court to secure  postconviction relief, and

            (2) an excerpt from the transcript of his jury trial in 1975.

            However,  a court  may look  to matters  of public  record in

            ruling on a  motion under  Fed. R. Civ.  P. 12(b)(6)  without

            converting  the  motion   into  one  for  summary   judgment.

            Watterson v. Page, 987  F.2d 1, 3-4 (1st Cir.  1993).  Courts
            _________    ____




                                
            ____________________

            1.  Petitioner also seeks  review of the  denial of a  motion
            for relief from judgment under Fed. R. Civ. P. 60(b).
















            have  routinely  regarded documents  from  prior  state court

            cases as public records.  See Henson v. CSC Credit Servs., 29
                                      ___ ______    _________________

            F.3d 280, 284 (7th Cir. 1994) (collecting cases); 5A Wright &amp;

            Miller,  Federal Practice  and  Procedure    1364, at  475-80
                     ________________________________

            (1990) (court judgments and  orders, judicial notice of prior

            pleadings, and transcripts of  prior court proceedings, among

            other  evidence, may be taken into account in deciding a Rule

            12(b)(6) motion).    Here, the  documents  relied on  by  the

            district  court were  submitted as  habeas exhibits  and were

            utilized in framing the  habeas petition.  As such,  they are

            part of the pleadings.  Watterson, 987 F.2d at 4.
                                    _________

                 In  a  similar  vein,  petitioner  argues  that  he  was

            entitled to  be given notice of the date the court planned to

            take the  dismissal motion under  advisement.  The  court was

            not required to give advance notice of its intent to  rule on

            the motion.  See, e.g., Daniels v. Morris, 746 F.2d 271, 275-
                         ___  ____  _______    ______

            76  (5th Cir. 1984).  Under Rule 8(a), Rules Governing Habeas

            Cases,  once  the  district  court  reviews  the  record  and

            determines that  an evidentiary hearing is  not required, the

            court  is authorized to  dispose of the  petition "as justice

            shall require."  See also McBride v. Sharpe, 25 F.3d 962, 970
                             ___ ____ _______    ______

            (11th  Cir.), cert.  denied,  115 S.  Ct.  489 (1994).    The
                          _____  ______

            documents  relied  on  by   the  district  court  provided  a

            sufficient  basis upon  which  to make  a  ruling without  an

            evidentiary hearing.   Moreover, petitioner had  a reasonably



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            sufficient opportunity to  file an  opposition; the  district

            court's disposition,  nine weeks after the  motion was filed,

            was hardly premature.  Rasheed's  Rule 60(b) motion failed to

            offer  any indication  that with  additional notice  he would

            have done something different that would have likely defeated

            the Commonwealth's claim of  procedural default.  Under these

            circumstances, petitioner had a  fair opportunity to meet the

            Commonwealth's objections to the filing of his petition.  See
                                                                      ___

            Price v. Johnston, 334 U.S. 266, 292-93 (1948).   There is no
            _____    ________

            merit  in  Rasheed's  complaint  that  the  district  court's

            failure   to  give  notice  that  it  intended  to  render  a

            disposition on the pending  dismissal motion violated his due

            process rights.

                                          II
                                          II

                 It is also clear that petitioner's habeas claims -- that

            suppression of evidence by the prosecution violated his right

            to  due  process under  Brady v.  Maryland,  373 U.S.  83, 87
                                    _____     ________

            (1963), and  caused the  ineffective assistance of  his trial

            counsel  --  are barred  by his  procedural default  in state

            court.  Petitioner attempted  to assert the same claims  in a

            1991 amended  motion for a  new trial under  Mass. R. Cr.  P.

            30(b), the  third attempt  since  his conviction  in 1975  to

            secure such relief.  The Massachusetts Appeals Court affirmed

            the denial  of a new  trial, ruling that  petitioner's claims

            had been waived  because they  were not raised  at trial,  on



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            direct  appeal,  or in  petitioner's  first  Rule 30  motion.

            Commonwealth v. Kines, No. 92-P-601 (Mass. App. Ct.  Feb. 24,
            ____________    _____

            1993).   That  decision, the   "last  reasoned opinion"  by a

            state court, Ylst  v. Nunnemaker, 501  U.S. 797, 803  (1991),
                         ____     __________

            plainly relied upon an independent and adequate state ground.

            Coleman v. Thompson, 501 U.S. 722, 739 (1991).  The fact that
            _______    ________

            the   Massachusetts   Appeals   Court    briefly   considered

            petitioner's defaulted claims in concluding that a remand for

            discretionary   review   under   Rule   30(c)(2)   would   be

            inappropriate, does not, as  petitioner would have it, remove

            the  procedural bar for federal habeas purposes.  See Tart v.
                                                              ___ ____

            Massachusetts, 949 F.2d 490, 496-97 (1st Cir. 1991); see also
            _____________                                        ___ ____

            Allen v.  Massachusetts, 926  F.2d  74, 78  (1st Cir.  1991);
            _____     _____________

            Doucette  v. Vose,  842  F.2d 538,  539-40  (1st Cir.  1988).
            ________     ____

            Despite that brief discussion, it is obvious that the Appeals

            Court  decision expressly  rested on  petitioner's procedural

            default.    Harris v.  Reed, 489  U.S.  255, 264  n.10 (1991)
                        ______     ____

            (adequate and independent  state ground doctrine  applies "as

            long  as  the  state  decision  explicitly  invokes  a  state

            procedural bar rule as a separate basis for decision").  And,

            Massachusetts  cases   have  consistently  applied   a  state

            procedural  bar to claims not  raised, as here,  at trial, on

            direct  appeal, or  on  the first  motion for  postconviction

            relief under  Rule 30.   See Commonwealth v.  McLaughlin, 364
                                     ___ ____________     __________





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            Mass.  211,  229  (1973).2   Consequently,  it  was  entirely

            appropriate  for  the district  court  to  find these  habeas

            claims  barred in the absence  of a showing  by petitioner of

            cause for defaulting them in state court and actual prejudice

            resulting from that default, or  that the refusal to consider

            the federal claims would lead to a fundamental miscarriage of

            justice.  Harris, 489 U.S. at 262; Tart, 949 F.2d at 496.
                      ______                   ____

                 Petitioner has made no attempt whatsoever to demonstrate

            cause and prejudice that  would excuse his noncompliance with

            Massachusetts procedure,  except to claim  that his  attorney

            was  ineffective.   But,  counsel's  decision  not to  pursue

            potential inconsistencies that might have come to light after

            sought-after police journal reports  were finally produced at

            trial,3 a decision that suggests  at worst inadvertence or at

            best reasonable trial strategy, cannot  constitute "cause" to

            revive Rasheed's claims for federal habeas review.  See Smith
                                                                ___ _____

            v.  Murray,  477  U.S.  527,  534  (1986)  ("[A]  deliberate,
                ______

            tactical  decision not  to pursue  a particular claim  is the

            very  antithesis  of  the  kind of  circumstance  that  would

                                
            ____________________

            2.  Federal  courts are  not  forums in  which to  relitigate
            state  trials.  Brecht v.  Abrahamson, 113 S.  Ct. 1710, 1719
                            ______     __________
            (1993)  (citing  Barefoot  v.  Estelle,  463  U.S.  880,  887
                             ________      _______
            (1983));  see also Singleton  v. United States,  26 F.3d 233,
                      ___ ____ _________     _____________
            237  n.9 (1st Cir. 1994).  The  sole and limited concern of a
            habeas court is to detect  whether petitioner's incarceration
            violated  the Constitution,  laws or  treaties of  the United
            States.  28 U.S.C.   2241(c)(3). 

            3.  The record  clearly shows that  defense counsel  examined
            the police journal at trial.

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            warrant excusing a defendant's failure to adhere to a State's

            legitimate  rules for  the  fair and  orderly disposition  of

            criminal  cases.");   see  also   Tart,  949  F.2d   at  497.
                                  ___  ____   ____

            Otherwise,  the record  fails even to  hint that  some factor

            external to  the defense  caused the  default much  less that

            interference  by officials  blocked  petitioner's ability  to

            comply with the state's procedural rules.  Murray v. Carrier,
                                                       ______    _______

            477  U.S. 478,  487 (1986).4     Nor has  Rasheed  shown that

            review  of  the  merits of  his  claims  under  the "manifest

            miscarriage of justice" exception noted in Smith, 477 U.S. at
                                                       _____

            537, is  warranted.   There simply is  "no substantial  claim

            that  the alleged  error[s]  undermined the  accuracy of  the

            guilt . .  . determination,"  id. at 539,  or any  indication
                                          ___

            that this  is the extraordinary case  "where a constitutional

            violation has probably resulted in the conviction of  one who

            is actually innocent."  Carrier, 477 U.S. at 496. 
                                    _______

                                         III
                                         III

                 Finally,  to the  extent that  Rasheed is  attempting to

            complain that  his habeas counsel was  ineffective, no relief

            on that ground is available.  As there is no right to counsel

            in   2254 proceedings,  McCleskey v. Zant, 499 U.S.  467, 495
                                    _________    ____

            (1991), the Sixth Amendment  right to effective assistance of


                                
            ____________________

            4.  Petitioner's  pro  se status  here and  on two  new trial
                              ___  __
            motions in  state court does  not excuse his  compliance with
            the  rigors  of  the  cause  and  prejudice  standard.    See
                                                                      ___
            Barksdale v. Lane, 957 F.2d 379, 385 n.12 (7th Cir. 1992).
            _________    ____

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            habeas counsel does not apply.  See Coleman, 501 U.S. at 752;
                                            ___ _______

            Bonin  v. Vasquez,  999 F.2d  425, 430  (9th  Cir. 1993).   A
            _____     _______

            petitioner seeking a certificate  of probable cause from this

            court must affirmatively demonstrate  that such cause in fact

            exists.    Glynn v.  Donnelly, 485  F.2d  692, 693  (1st Cir.
                       _____     ________

            1973),  cert. denied, 416 U.S. 957 (1974).  This means making
                    _____ ______

            a substantial showing of the denial of a federal right, i.e.,

            that the "issues are debatable among jurists  of reason; that

            a  court could resolve the  issues in a  different manner; or
                     _____

            that the  questions are adequate to  deserve encouragement to

            proceed further."  Barefoot v. Estelle, 463 U.S. 880, 893 n.4
                               ________    _______

            (1983)  (punctuation and  citations omitted).   This  has not

            been done.

                 Petitioner's motions  to proceed in forma  pauperis; for
                                                  __ _____  ________

            appointment  of  counsel;  to  correct,  expand  and  exclude

            materials  from the  record;  and for  summary reversal,  are

            denied as moot.
            ______

                 The  certificate of  probable  cause is  denied and  the
                 ________________________________________________________

            appeal is terminated.
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